Case 8:24-cv-01080-WFJ-TGW           Document 73      Filed 05/02/25    Page 1 of 8 PageID 1561




                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

      STATE OF FLORIDA; FLORIDA AGENCY
      FOR HEALTH CARE ADMINISTRATION;
      FLORIDA DEPARTMENT OF
      MANAGEMENT SERVICES; CATHOLIC
      MEDICAL ASSOCIATION, on behalf of its
      current and future members,

            Plaintiffs,

            v.                                              No. 8:24-cv-1080-WFJ-TGW


      DEPARTMENT OF HEALTH AND
      HUMAN SERVICES; ROBERT F.
      KENNEDY, JR., in his official capacity as
      Secretary of the Department of Health and
      Human Services; ANTHONY ARCHEVAL,
      in his official capacity as the Acting Director of
      the Office for Civil Rights; CENTERS FOR
      MEDICARE AND MEDICAID SERVICES;
      STEPHANIE CARLTON, in her official
      capacity as Acting Administrator of the Centers
      for Medicare and Medicaid Services, 1

            Defendants.

                 PLAINTIFFS’ MOTION TO REOPEN AND TO CLARIFY




  1
      Caption updated pursuant to Federal Rule Civil Procedure 25(d).
Case 8:24-cv-01080-WFJ-TGW        Document 73      Filed 05/02/25    Page 2 of 8 PageID 1562




        Plaintiffs respectfully move to reopen this case, set a deadline to file motions to

  govern, and clarify the effect, if any, of the Court’s April 9, 2025, full closure order.

  ECF 71. Defendants (HHS) state that they “would like to review the motion before

  taking a position and anticipate filing a response within the time permitted under Local

  Rule 3.01(c).” In support of this motion, Plaintiffs state as follows:


                                     BACKGROUND

        1.     On May 6, 2024, HHS published a final rule entitled “Nondiscrimination

  in Health Programs and Activities.” 89 Fed. Reg. 37,522 (May 6, 2024). That final

  rule purports to implement Section 1557 of the Affordable Care Act (“ACA”). 42

  U.S.C. § 18116(a).

        2.     On May 6, 2024, the same day the final rule was published, Plaintiffs

  filed the Complaint in this case. ECF 1.

        3.     On May 15, 2024, Plaintiffs sought a stay of the effective date of the final

  rule and a preliminary injunction, given the rule’s effective date of July 5, 2024. ECF

  12.

        4.     On July 3, 2024, the Court granted Plaintiffs’ motion for a stay and

  preliminary injunction “within the State of Florida” “[p]ending trial on the merits.”

  ECF 41, at 1, 49–50. The Court, however, denied preliminary injunctive relief to the

  Catholic Medical Association and its members residing outside of Florida. Id. at 47–

  48.




                                              2
Case 8:24-cv-01080-WFJ-TGW         Document 73      Filed 05/02/25    Page 3 of 8 PageID 1563




         5.     On August 30, 2024, HHS filed an interlocutory appeal of this Court’s

  July 3, 2024, order. ECF 46. On September 11, 2024, Plaintiff Catholic Medical

  Association filed a cross-appeal. ECF 52.

         6.     While the interlocutory appeal was pending, the Court stayed

  proceedings and directed the Clerk to administratively close the case, while noting that

  “[a]ny party may reopen at any time by filing a motion.” ECF 62.

         7.     Following a change in agency leadership, HHS moved to dismiss its

  interlocutory appeal, and Catholic Medical Association filed a response thereto. On

  April 3, 2025, the Court of Appeals granted HHS’s motion and construed the response

  of the Catholic Medical Association as a request to voluntarily dismiss its cross-appeal,

  which the Court also granted. ECF 70.

        8.      On April 9, 2025, following the dismissal of the interlocutory appeals,

  this Court directed the clerk to “lift the stay and convert the administrative closure into

  a full closure.” ECF 71.


                                       ARGUMENT

         Fully closing this civil action is not an appropriate disposition at this stage. This

  action has just progressed beyond the preliminary injunction stage. “Preliminary

  injunctions, however, do not conclusively resolve legal disputes. In awarding

  preliminary injunctions, courts determine if a plaintiff is likely to succeed on the

  merits—along with the risk of irreparable harm, the balance of equities, and the public




                                               3
Case 8:24-cv-01080-WFJ-TGW          Document 73      Filed 05/02/25     Page 4 of 8 PageID 1564




  interest.” Lackey v. Stinnie, 145 S. Ct. 659, 667 (2025). With no final judgment on the

  merits, or even an answer to the Complaint, fully closing the case is premature.

         Plaintiffs recognize that this Court has broad discretion to administer its docket.

  This Court may well decide to stay proceedings should such a stay be appropriate

  under the circumstances, and the parties may have different views on how to proceed.

  But the Court should allow the parties an opportunity to be heard on that question by

  entertaining motions to govern, rather than ordering full closure. Plaintiffs therefore

  respectfully request that, in reopening the case, the Court set a deadline for the parties

  to file motions to govern. 2

         Plaintiffs also respectfully request that this Court’s order clarify the effect, if any,

  of its full closure order. Despite the full closure order, this Court has not dissolved the

  July 3 Order awarding a stay and preliminary injunction, and the Order continues to

  apply “pending trial on the merits,” ECF 49, at 49. Plaintiffs thus continue to operate

  their affairs within the State of Florida on the assumption that this Court’s July 3 Order

  remains operative and continues to stay the effective date of the final rule and to

  restrain HHS’s enforcement actions pending further order from the Court. Further,

  Plaintiffs do not interpret the “full closure” order as a final judgment terminating

  proceedings that triggers the deadline for Plaintiffs to file a notice of appeal.

  Nevertheless, out of an abundance of caution, Plaintiffs respectfully request that the




  2
    In a related action brought by other states, HHS has agreed to proceed directly to summary
  judgment briefing. See State of Tennessee et al. v. Kennedy, 24-cv-00161-LG-BWR, ECF No. 60.


                                                4
Case 8:24-cv-01080-WFJ-TGW            Document 73    Filed 05/02/25    Page 5 of 8 PageID 1565




  Court clarify (1) that the July 3, 2024 Order remains in place notwithstanding the April

  9, 2025 full closure order, and (2) that there is, to date, no final appealable judgment.


                                        CONCLUSION

         The Court should (1) reopen the case and set a deadline to file motions to

  govern, (2) clarify that the July 3, 2024 Order remains operative notwithstanding the

  April 9, 2025 full closure order, and (3) clarify that there is, to date, no final appealable

  judgment.

   Respectfully submitted,

   JAMES UTHMEIER                               /S/ JAMES R. CONDE
   ATTORNEY GENERAL                             R. TRENT MCCOTTER (pro hac vice)
                                                JAMES R. CONDE (pro hac vice)*
   JOHN GUARD                                   Boyden Gray PLLC
   CHIEF DEPUTY ATTORNEY GENERAL                800 Connecticut Ave NW, Suite 900
                                                Washington, DC 20006
   JEFFREY DESOUSA                              (202) 706-5488
   ACTING SOLICITOR GENERAL                     tmccotter@boydengray.com
                                                jconde@boydengray.com
   /S/ ALLEN L. HUANG
   ALLEN L. HUANG*                              * Lead Counsel
   DEPUTY SOLICITOR GENERAL                     Counsel for Agency for Health Care
   Florida Bar No. 1045396                      Administration & Florida Department of
                                                Management Services
   Office of the Attorney General
   The Capitol, Pl-01                           ANDREW T. SHEERAN
   Tallahassee, Florida 32399-1050              GENERAL COUNSEL
   (850) 414-3300                               Florida Bar No. 0030599
   (850) 410-2672 (fax)                         Agency for Health Care Administration
   Allen.Huang@myfloridalegal.com               2727 Mahan Drive, Mail Stop #3
                                                Tallahassee, Florida 32308
   * Lead Counsel                               (850) 412-3670
   Counsel for the State of Florida             Andrew.Sheeran@ahca.myflorida.com

                                                Counsel for Agency for Health Care
                                                Administration


                                               5
Case 8:24-cv-01080-WFJ-TGW          Document 73   Filed 05/02/25    Page 6 of 8 PageID 1566




   /S/ MATTHEW S. BOWMAN_                     KRISTEN LARSON
   MATTHEW S. BOWMAN (pro hac vice)           GENERAL COUNSEL
   Alliance Defending Freedom                 Florida Bar No. 124770
   440 First Street NW, Suite 600             Florida Department of Management
   Washington, DC 20001                       Services
   (202) 393-8690                             4050 Esplanade Way
   (202) 347-3622 (fax)                       Tallahassee, Florida 32399
   mbowman@ADFlegal.org                       (850) 922-2137
                                              Kristen.Larson@dms.fl.gov
   JULIE MARIE BLAKE (pro hac vice)*
   Alliance Defending Freedom                 Counsel for Florida Department of
   44180 Riverside Parkway                    Management Services
   Lansdowne, Virginia 20176
   (571) 707-4655
   (571) 707-4790 (fax)
   jblake@ADFlegal.org

   DAVID A. CORTMAN
   Florida Bar No. 18433
   Alliance Defending Freedom
   1000 Hurricane Shoals Road NE, Suite
   D1100
   Lawrenceville, Georgia 30043
   (770) 339-0774
   (770) 339-6744 (fax)
   dcortman@ADFlegal.org

   ALLISON H. POPE (pro hac vice)
   Alliance Defending Freedom
   44180 Riverside Parkway
   Lansdowne, Virginia 20176
   (571) 707-4655
   (571) 707-4790 (fax)
   apope@ADFlegal.org

   * Lead Counsel
   Counsel for Plaintiff Catholic Medical
   Association




                                             6
Case 8:24-cv-01080-WFJ-TGW      Document 73      Filed 05/02/25   Page 7 of 8 PageID 1567




                     LOCAL RULE 3.01(G) CERTIFICATION

        I hereby certify that Plaintiffs conferred with the opposing party, via email and

  telephone, and Defendant HHS states that they “would like to review the motion

  before taking a position and anticipate filing a response within the time permitted

  under Local Rule 3.01(c).”

                                            /s/ James R. Conde
                                            James R. Conde




                                            7
Case 8:24-cv-01080-WFJ-TGW      Document 73    Filed 05/02/25   Page 8 of 8 PageID 1568




                           CERTIFICATE OF SERVICE

        I hereby certify that on May 2, 2025, a true and correct copy of the foregoing

  was filed with the Court’s CM/ECF system, which will provide service to all parties

  who have registered with CM/ECF and filed an appearance in this action.



                                          /s/ James R. Conde
                                          James R. Conde




                                           8
